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                                        Georgia’s strict laws lead to large purge of voters

                                                             DIGGING DEEP | Oct 30, 2018

                                                  By Alan Judd, The Atlanta Journal-Constitution

                                          Efforts put voters at risk of disenfranchisement, critics say

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   One evening in July 2017, computers at the Georgia Secretary of State’s oﬃce were set to a monumental task. Through

   the night, they would sift through a list of 6.6 million registered voters, seeking out those who didn’t belong.




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   By dawn, more than 500,000 people were registered no more.


   This purge, according to election-law experts, may represent the largest mass disenfranchisement in U.S. history.


   It also underscores how Georgia – where people once died for the right to vote – has systematically enacted some of

   the strictest voting laws in the nation over the past two decades. While oﬃcials say the laws are aimed at preventing

   election fraud, the U.S. Commission on Civil Rights says no state has done more than Georgia in recent years to make

   voting diﬃcult, especially for minorities.


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   These eﬀorts went relatively unnoticed before this year’s campaign for governor. That has changed amid what appears

   to be a historically tight race and, perhaps more important, claims that Republicans are engaging in voter suppression.


   The focus on who gets to vote may have been inevitable in this election. Republican candidate Brian Kemp, the

   secretary of state since 2010, has avidly enforced and advocated for strict voting laws. Democrat Stacey Abrams, a

   former state legislator, is a long-time voting-rights activist. She also could become the ﬁrst African-American woman

   elected governor of any state.
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   The points of conﬂict are many: An "exact match" law that put 50,000 would-be voters into electoral purgatory over

   even slight inconsistencies in their registration applications. The closing of voting precincts in areas with substantial

   African-American populations. The diversion of a busload of black senior citizens headed to the polls for early voting.


   Nothing, however, generated more controversy than Georgia’s massive purge, authorized by a 20-year-old law whose

   advocates distilled the right to vote to a pithy phrase: Use it or lose it.


   Since 2012, according to federal and state data, Georgia has removed about 1.4 million people from the voting rolls.

   Some died. Some moved away. Some lost their voting rights after being convicted of felonies.


   But most simply stopped participating in elections, an analysis of canceled registrations shows. They didn’t use their

   right to vote, so they lost it.


   Kemp, whose job puts him in charge of the election in which he is running, and other oﬃcials say they are following

   the law. Both federal and state laws require voters lists to be accurate and up to date to help maintain election

   integrity. Oﬃcials say saboteurs could more easily assume the identities of inactive voters than of those who cast

   ballots in virtually every election.


   But this year, the convergence of Georgia’s numerous eﬀorts to carefully regulate voting is straining the state’s election

   system, said Jonathan Brater, a lawyer with the Brennan Center for Justice at New York University.


   “The combined eﬀect is to put voters – especially racial minorities – at risk of disenfranchisement,” Brater wrote in a

   blog post last week.


   The post’s title: “What’s the Matter with Georgia?”




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   ‘Gateway to voting’


   In 1965, before the Voting Rights Act took eﬀect, 27.4 percent of eligible African-Americans and other minorities were

   registered to vote in Georgia. Three years later, that rate had almost doubled, to 52.6 percent.


   But in a recent report, the Commission on Civil Rights, a bipartisan federal panel, harshly criticized Georgia's more

   recent treatment of minority voters.


   The commission listed ﬁve restrictions it considers particularly onerous: requiring government-issued photo

   identiﬁcation to cast a ballot; requiring documentary proof of citizenship, such as a birth certiﬁcate or a passport, to

   register; aggressive purges of inactive voters; reductions in early voting; and moving or closing polling places.


   Georgia is the only state that imposed all ﬁve restrictions, the commission found. The proof of citizenship law was

   never implemented, however.


   The commission's criticism came as many states were busy revising laws that regulate voter registration – "the gateway

   to voting," as Dylan Lynch of the National Conference of State Legislatures put it. Twenty-three states passed voter

   registration laws this year, compared to six in 2014.


   Many of those laws seek to make registration easier or to keep more voters eligible to cast ballots.


   In California, for example, lawmakers instructed election oﬃcials to communicate with newly registered voters by text

   or email to let them know their applications are being processed. Delaware legislators ordered that the state ﬁnd a

   “non-discriminatory” method for identifying registered voters who may have become ineligible by moving out of state.

   They said the current system, the same one that Georgia and 35 other states use, relies on a change-of-address

   database that contains too much erroneous information.


   In many respects, the way Georgia maintains its voter list sits ﬁrmly in the mainstream. It is among 44 states that

   routinely ﬂag inactive voters, according to the National Association of Secretaries of State. It is one of 38 states that


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   restrict voting by people judged mentally incompetent.

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   But in canceling the registration of people who stop participating in elections, Georgia is a deﬁnite outlier.


   Since 1997, it has been one of nine states that purge voters for a lack of contact with the election system. Voting-rights

   advocates say it is unfair to take away a citizen's right to vote. But the U.S. Supreme Court, ruling in an Ohio case,

   recently upheld the practice.


   Regardless, said Candice Broce, a spokeswoman for Kemp’s oﬃce, “it’s not just the lack of voting” that leads to

   cancellation, “it’s the lack of contact.”


   The purge


   The night of July 28 last year, the secretary of state’s computers hunted for voters who were registered but far from

   engaged.


   Those voters had gone into inactive status after three years in which they had no contact with the election system.

   They had not updated their registrations with new addresses during that time. They had ignored mailings from their

   county election oﬃces. They hadn’t signed petitions seeking to get a candidate or an issue on the ballot.


   And they hadn’t voted.


   At the end of that three years, state oﬃcials mailed these voters notices that gave them 30 days to conﬁrm that they

   still wanted to be on the voting rolls. Regardless of whether they wanted to stay registered, they then failed to vote in

   either of the next two general elections.


   The 1997 law – passed when Democrats controlled the Legislature and the governor’s oﬃce, as Kemp’s oﬃce points

   out – instructed election oﬃcials to clean up voter lists every odd-numbered year, between statewide elections. The

   Secretary of State’s oﬃce did not carry out the required maintenance in 2015 because of a legal challenge, Broce, the

   spokeswoman, said. As a result, she said, the number of cancellations spiked in 2017.


   The process can take as long as seven years. But for many of the people purged in 2017, the three years without

   contact ended in September 2014, when that year’s early voting period concluded. Then they didn’t vote in in that

   year’s general election two months later, or in 2016. They went from disengaged to disenfranchised in six years.


   Kemp’s oﬃce has described the process as “automated.” But Broce said three oﬃcials from the oﬃce oversee the

   cancellations to guard against widescale errors. Kemp is not one of them.


   “They all have to review and sign oﬀ on the identiﬁed list of people,” Broce said.




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   The July 2017 list identiﬁed 534,119 voters who were no longer eligible; 80 percent had not voted either in 2014 or

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   2016 and      no other contact with the election system in years.


   Throughout 2017, the state purged 665,791 people, or about 10 percent of all registered voters. The law does not

   require the state to notify them of the cancellations.


   More than 130,000 of those purged last year had registered to vote in 2008, the year of Barrack Obama’s historic

   presidential candidacy. Nearly half were minorities.


   Oﬃcials suspect many voted for Obama that year – and never returned to the polls or made other contact with the

   election system.


   What no one knows is whether some might have been similarly motivated to vote for the ﬁrst black nominee for

   governor in Georgia. If they go the polls this year, they’ll be turned away.


   The right not to vote


   In 2016, Common Cause and the NAACP challenged Georgia’s method of purging voters, arguing in a lawsuit that it

   violated a First Amendment guarantee – the right not to vote. Just like voting, the suit claimed, withholding a vote “also

   constitutes political speech.”


   “The First Amendment protects not only the right of a qualiﬁed citizen to vote,” the suit said. “It also protects the right

   of a citizen not to vote.”


   In a hearing in federal court, a lawyer for the state argued that “there is no established constitutional right to vote. But,

   she said, “any registered voter is free not to vote in any election they so desire.”


   A federal judge dismissed the suit, but an appeals court reinstated it while the Supreme Court considered the Ohio

   case. After the high court upheld Ohio’s voter-list procedures, the suit was dropped.


   So the purges stand, subject to rulings in recently ﬁled lawsuits.


   How many of the hundreds of thousands of purged voters actually want to be registered is not clear.


   The Atlanta Journal-Constitution tried last week to get in touch with 50 people randomly chosen from the list of

   2017’s purged voters. Twenty clearly would be ineligible to vote in Georgia: 17 moved out of state, two were convicted

   of felonies and one had died. Most of the rest left a trail of address changes and disconnected telephone numbers.


   For some, voting clearly is not a priority.




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